          Case 19-40882             Doc 1           Filed 02/18/19 Entered 02/18/19 21:50:43                              Main Document
                                                                 Pg 1 of 39
 )LOOLQWKLVLQIRUPDWLRQ WRLGHQWLI\WKHFDVH

 8QLWHG6WDWHV %DQNUXSWF\ &RXUW IRUWKH
          (DVWHUQ
 BBBBBBBBBBBBBBBBBBBB             0LVVRXUL
                      'LVWULFWRI BBBBBBBBBBBBBBBBB
                                       6WDWH 
 &DVHQXPEHU    If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHU       
                                                                     BBBBB                                                               &KHFNLIWKLVLVDQ
                                                                                                                                            DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU¶V QDPHDQGWKHFDVH
QXPEHU LINQRZQ  )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals, LVDYDLODEOH



   'HEWRU¶VQDPH                          3D\OHVV 6KRH6RXUFH ,QF
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   $OORWKHUQDPHV GHEWRUXVHG
     LQWKHODVW\HDUV
     ,QFOXGHDQ\DVVXPHGQDPHV
     WUDGHQDPHVDQG doing business
     as QDPHV




   'HEWRU¶VIHGHUDO(PSOR\HU              
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     ,GHQWLILFDWLRQ1XPEHU (,1



   'HEWRU¶VDGGUHVV                      3ULQFLSDOSODFHRIEXVLQHVV                                  0DLOLQJDGGUHVVLIGLIIHUHQW IURPSULQFLSDOSODFH
                                                                                                        RIEXVLQHVV
                                                      6RXWKHDVW 6L[WK $YHQXH
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           1XPEHU     6WUHHW                                            1XPEHU     6WUHHW

                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                           &LW\                        6WDWH    =,3&RGH               &LW\                      6WDWH      =,3&RGH

                                                                                                        /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQW IURP
                                                                                                        SULQFLSDOSODFHRIEXVLQHVV
                                           6KDZQHH
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           &RXQW\                                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        1XPEHU     6WUHHW

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   'HEWRU¶VZHEVLWH 85/                  KWWSZZZSD\OHVVFRP
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                                           ✔ &RUSRUDWLRQ LQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\ //& DQG/LPLWHG/LDELOLW\3DUWQHUVKLS //3
                                           
   7\SHRIGHEWRU
                                            3DUWQHUVKLS H[FOXGLQJ //3
                                            2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                                 9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV )LOLQJIRU%DQNUXSWF\                             SDJH 
             Case 19-40882              Doc 1      Filed 02/18/19 Entered 02/18/19 21:50:43                                Main Document
                                                                Pg 2 of 39
'HEWRU           3D\OHVV 6KRH6RXUFH ,QF
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH



    'HVFULEHGHEWRU¶V EXVLQHVV          $ Check one:

                                                 +HDOWK&DUH%XVLQHVV DVGHILQHG LQ86&  $
                                                 6LQJOH $VVHW5HDO (VWDWH DVGHILQHGLQ86& % 
                                                 5DLOURDG DVGHILQHG LQ 86&   
                                                 6WRFNEURNHU DV GHILQHG LQ86&  $
                                                &RPPRGLW\ %URNHU DVGHILQHGLQ 86& 
                                                 &OHDULQJ%DQN DVGHILQHGLQ 86&  
                                           ✔     1RQHRIWKHDERYH



                                          % Check all that apply:

                                           7D[H[HPSWHQWLW\ DVGHVFULEHGLQ86& 
                                           ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQG RUSRROHGLQYHVWPHQWYHKLFOH DVGHILQHGLQ86&
                                                D
                                           ,QYHVWPHQWDGYLVRU DVGHILQHGLQ86&E D          


                                          & 1$,&6 1RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHP GLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                             KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                   
                                               BBBBBBBBBBBB

    8QGHUZKLFKFKDSWHURIWKH          Check one:
      %DQNUXSWF\&RGH LVWKH
      GHEWRUILOLQJ"                       &KDSWHU
                                           &KDSWHU
                                           &KDSWHUCheck all that apply
                                          ✔
                                                         'HEWRU¶VDJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWR
                                                               LQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ DPRXQWVXEMHFWWRDGMXVWPHQWRQ
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                                                           
                                                            7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& '  ,IWKH
                                                               GHEWRULVDVPDOOEXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQW
                                                               RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                               GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % 

                                                              $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ

                                                              $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRI
                                                               FUHGLWRUVLQDFFRUGDQFHZLWK86& E 

                                                              7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWV IRUH[DPSOH.DQG4 ZLWKWKH
                                                               6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRU G RIWKH6HFXULWLHV
                                                               ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

                                                              7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
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                                           &KDSWHU
    :HUHSULRUEDQNUXSWF\FDVHV          1R
      ILOHGE\RUDJDLQVWWKHGHEWRU
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                                           <HV 'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB
                                          ✔                                                   &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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      ZLWKLQWKHODVW\HDUV"
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      ,IPRUHWKDQ FDVHVDWWDFKD
      VHSDUDWHOLVW                                 'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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   $UHDQ\EDQNUXSWF\FDVHV             1R
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                                                            6HH 5LGHU 
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      EXVLQHVVSDUWQHURUDQ
      DIILOLDWHRIWKHGHEWRU"                                  (DVWHUQ 'LVWULFW RI 'HODZDUH
                                                     'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB :KHQ             BBBBBBBBBBBBBBBBBB
      /LVWDOOFDVHV,IPRUHWKDQ                                                                                          00  '' <<<<
      DWWDFKDVHSDUDWHOLVW                        &DVHQXPEHULINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


     2IILFLDO)RUP                          9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV )LOLQJIRU%DQNUXSWF\                                SDJH 
            Case 19-40882             Doc 1       Filed 02/18/19 Entered 02/18/19 21:50:43                                   Main Document
                                                               Pg 3 of 39
'HEWRU          3D\OHVV 6KRH6RXUFH ,QF
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                           &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH




   :K\LVWKHFDVH ILOHG LQ this      Check all that apply:
      district"
                                         'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
                                        ✔ LPPHGLDWHO\SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHU
                                             GLVWULFW

                                          $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU¶VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

   'RHVWKHGHEWRU RZQRUKDYH  ✔ 1R
      SRVVHVVLRQRIDQ\UHDO         <HV $QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
      SURSHUW\RUSHUVRQDOSURSHUW\
      WKDWQHHGVLPPHGLDWH                 :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ" Check all that appO\
      DWWHQWLRQ"
                                                        ,W SRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                         :KDWLVWKHKD]DUG" BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                        ,W QHHGVWREH SK\VLFDOO\VHFXUHG RUSURWHFWHGIURPWKHZHDWKHU

                                                        ,W LQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXW
                                                         DWWHQWLRQ IRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGV PHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
                                                         DVVHWVRURWKHURSWLRQV 

                                                        2WKHU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                                   :KHUHLVWKHSURSHUW\"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                               1XPEHU          6WUHHW

                                                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBB     BBBBBBBBBBBBBBBB
                                                                               &LW\                                          6WDWH       =,3&RGH 


                                                   ,VWKHSURSHUW\LQVXUHG"
                                                        1R
                                                        <HV ,QVXUDQFHDJHQF\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                              &RQWDFWQDPH     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                              3KRQH            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 




             Statistical and administrative information



   'HEWRU¶V HVWLPDWLRQRI            Check one:
      DYDLODEOHIXQGV                    
                                         ✔ )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                          $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV

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  2IILFLDO)RUP                           9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV )LOLQJIRU%DQNUXSWF\                                    SDJH 
           Case 19-40882            Doc 1        Filed 02/18/19 Entered 02/18/19 21:50:43                                  Main Document
                                                              Pg 4 of 39
'HEWRU          3D\OHVV 6KRH6RXUFH ,QF
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                                                                   PLOOLRQ                  ✔ ELOOLRQ
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             Request for Relief, Declaration, and Signatures


:$51,1*  %DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWLQFRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWR
             RULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&DQG


   'HFODUDWLRQDQGVLJQDWXUHRI       Q   7KHGHEWRUUHTXHVWVUHOLHILQDFFRUGDQFHZLWKWKHFKDSWHURIWLWOH8QLWHG6WDWHV&RGHVSHFLILHGLQWKLV
      DXWKRUL]HGUHSUHVHQWDWLYHRI
                                             SHWLWLRQ
      GHEWRU
                                         Q   ,KDYHEHHQDXWKRUL]HGWRILOHWKLVSHWLWLRQRQEHKDOIRIWKHGHEWRU

                                         Q   ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVSHWLWLRQDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQG
                                             FRUUHFW


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                                         8 /s/ Stephen Marotta
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                                                    &KLHI 5HVWUXFWXULQJ 2IILFHU
                                             7LWOH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




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                                             1XPEHU     6WUHHW
                                              6W /RXLV
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                                             &RQWDFW SKRQH                                                 (PDLODGGUHVV



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                                               5LGHU
                                     3HQGLQJ%DQNUXSWF\&DVHV
                           )LOHGE\WKH'HEWRUDQG$IILOLDWHVRIWKH'HEWRU

    2QWKHGDWHKHUHRIHDFKRIWKHHQWLWLHVOLVWHGEHORZ FROOHFWLYHO\WKH³'HEWRUV´ ILOHGD
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    x   3D\OHVV,QWHUPHGLDWH+ROGLQJV//&
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    x   3D\OHVV)LQDQFH,QF
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    x   366'HODZDUH&RPSDQ\,QF
    x   6KRH6RXUFLQJ,QF
    x   (DVWERURXJK,QF
    x   3D\OHVV3XUFKDVLQJ6HUYLFHV,QF
    x   3D\OHVV6KRH6RXUFH0HUFKDQGLVLQJ,QF
    x   3D\OHVV*ROG9DOXH&2,QF
    x   3D\OHVV6KRH6RXUFH'LVWULEXWLRQ,QF
    x   3D\OHVV6KRH6RXUFH:RUOGZLGH,QF
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    x   3D\OHVV6KRH6RXUFHRI3XHUWR5LFR,QF
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    x   &OLQFK//&
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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

                                                             )
In re:                                                       )     Case No. 19-________ (___)
                                                             )
PAYLESS SHOESOURCE, INC.                                     )     CHAPTER 11
                                                             )
                                                             )     (Joint Administration Requested)
                                    Debtor.                  )




                              LIST OF EQUITY SECURITY HOLDERS1


         Debtor                  Equity Holders             Address of Equity                Percentage of
                                                                Holder                       Equity Held

Payless ShoeSource,          Payless Finance, Inc.         3231 SE Sixth Ave.           100%
Inc.                                                       Topeka KS, 66607




1
 This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                                  )
In re:                                            )    Case No. 19-________ (___)
                                                  )
PAYLESS SHOESOURCE, INC.                          )    CHAPTER 11
                                                  )
                                                  )    (Joint Administration Requested)
                              Debtor.             )




                        CORPORATE OWNERSHIP STATEMENT


       Pursuant to 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:



                Shareholder                       Approximate Percentage of Shares Held

            Payless Finance, Inc.                                    100%
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                  Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%
                  Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
                  Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()
                  Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP*
                  Schedule H: Codebtors 2IILFLDO)RUP+
                  Summary of Assets and Liabilities for Non-Individuals 2IILFLDO)RUP6XP
                  $PHQGHGSchedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders 2IILFLDO)RUP
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     WKHEHVWLQWHUHVWVRIHDFK&RPSDQ\LWVFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVWWKDWFHUWDLQ
     &DQDGLDQ DIILOLDWHV RI WKH &RPSDQLHV FRPPHQFH SURFHHGLQJV XQGHU WKH Companies’
     Creditors Arrangement Act &DQDGD  7KH ³&&$$´  LQ WKH 2QWDULR 6XSHULRU &RXUW RI
     -XVWLFH &RPPHUFLDO/LVW DW7RURQWR WKH³&&$$3URFHHGLQJV´ 

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     DQGGLUHFWHGWRHPSOR\WKHODZILUPRI$NLQ*XPS6WUDXVV+DXHU )HOG//3DVHDFK
     &RPSDQ\¶VFRXQVHOWRUHSUHVHQWDQGDVVLVWHDFK&RPSDQ\LQFDUU\LQJRXWLWVGXWLHVXQGHU
     WKH%DQNUXSWF\&RGHDQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVZLWK
     SRZHU RI GHOHJDWLRQ LV KHUHE\ DXWKRUL]HG DQG GLUHFWHG WR H[HFXWH DSSURSULDWH UHWHQWLRQ
     DJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQ
     IRU DXWKRULW\ WR UHWDLQ $NLQ *XPS 6WUDXVV +DXHU  )HOG //3 LQ DFFRUGDQFH ZLWK
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     FRXQVHO WR UHSUHVHQW DQG DVVLVW HDFK &RPSDQ\ LQ FDUU\LQJ RXW LWV GXWLHV XQGHU WKH
     %DQNUXSWF\ &RGH DQG LQ FRQQHFWLRQ WKHUHZLWK HDFK RI WKH $XWKRUL]HG 2IILFHUV ZLWK
     SRZHU RI GHOHJDWLRQ LV KHUHE\ DXWKRUL]HG DQG GLUHFWHG WR H[HFXWH DSSURSULDWH UHWHQWLRQ
     DJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQ
     IRUDXWKRULW\WRUHWDLQ$UPVWURQJ7HDVGDOH//3LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

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     DQG GLUHFWHG WR HPSOR\ WKH ODZ ILUP RI &DVVHOV %URFN  %ODFNZHOO //3 DV HDFK
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     H[HFXWHDSSURSULDWHUHWHQWLRQDJUHHPHQWVSD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHG
     DQ DSSURSULDWH DSSOLFDWLRQ IRU DXWKRULW\ WR UHWDLQ &DVVHOV %URFN  %ODFNZHOO //3 LQ
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     DQGGLUHFWHGWRHPSOR\WKHODZILUPRI6HZDUG .LVVHO//3DVHDFK&RPSDQ\¶VFRXQVHO
     DFWLQJ DW WKH GLUHFWLRQ RI  WR WKH LQGHSHQGHQW PDQDJHUV RI WKH%RDUG WKH ³,QGHSHQGHQW
     0DQDJHUV´ WRUHSUHVHQWDQGDVVLVWWKH,QGHSHQGHQW0DQDJHUVLQPDWWHUVGHOHJDWHGWRWKH
     ,QGHSHQGHQW0DQDJHUVLQFDUU\LQJRXWWKHLUGXWLHVDV%RDUGPHPEHUVDQGLQFRQQHFWLRQ
     WKHUHZLWKHDFKRIWKH$XWKRUL]HG2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HG
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     FDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\WRUHWDLQ6HZDUG .LVVHO//3LQ
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     UHVWUXFWXULQJDGYLVRUWRUHSUHVHQWDQGDVVLVWHDFK&RPSDQ\LQFDUU\LQJRXWLWVGXWLHVXQGHU
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     DQG GLUHFWHG WR HPSOR\ WKH ILUP RI 3- 6RORPRQ /3 WRJHWKHU ZLWK HPSOR\HHV RI LWV
     DIILOLDWHV DOORIZKLFKDUHZKROO\RZQHGE\LWVSDUHQWFRPSDQ\DQGHPSOR\HHV LWVZKROO\
     RZQHGVXEVLGLDULHVDQGLQGHSHQGHQWFRQWUDFWRUV FROOHFWLYHO\³3-6´ DVILQDQFLDODGYLVRU
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     GXWLHV XQGHU WKH %DQNUXSWF\ &RGH DQG WR WDNH DQ\ DQG DOO DFWLRQV WR DGYDQFH HDFK
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     DQGGLUHFWHGWRHPSOR\DQ\RWKHUSURIHVVLRQDOVWRDVVLVWHDFK&RPSDQ\LQFDUU\LQJRXWLWV
     GXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGLQFRQQHFWLRQWKHUHZLWKHDFKRIWKH$XWKRUL]HG
     2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWH
     UHWHQWLRQ DJUHHPHQWV SD\ DSSURSULDWH UHWDLQHUV DQG WR FDXVH WR EH ILOHG DQ DSSURSULDWH
     DSSOLFDWLRQ IRU DXWKRULW\ WR UHWDLQ WKH VHUYLFHV RI DQ\ RWKHU SURIHVVLRQDOV DV QHFHVVDU\
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     SOHDGLQJV DQG RWKHU SDSHUV WR HPSOR\ DQG UHWDLQ OHJDO FRXQVHO DFFRXQWDQWV ILQDQFLDO
     DGYLVRUVUHVWUXFWXULQJDGYLVRUVDQGRWKHUSURIHVVLRQDOVDQGWRWDNHDQGSHUIRUPDQ\DQG
     DOOIXUWKHUDFWVDQGGHHGVWKDWHDFKRIWKH$XWKRUL]HG2IILFHUVGHHPQHFHVVDU\DSSURSULDWH
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     GHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWHUHWHQWLRQDJUHHPHQWV
     SD\DSSURSULDWHUHWDLQHUVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRUDXWKRULW\
     WRUHWDLQ0DOILWDQR$GYLVRUV//&LQDFFRUGDQFHZLWKDSSOLFDEOHODZ

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     /LTXLGDWLRQ&RQVXOWLQJ$JUHHPHQW´ GDWHGDVRI)HEUXDU\E\DQGDPRQJ3D\OHVV
     +ROGLQJV//&3D\OHVV6KRH6RXUFH&DQDGD/3DQGDMRLQWYHQWXUHFRPSULVHGRI*UHDW
     $PHULFDQ*URXS//&DQG7LJHU&DSLWDO*URXS//& WRJHWKHUWKH³&RQVXOWDQW´ SXUVXDQW
     WRZKLFKWKH&RQVXOWDQWVKDOODFWDVFRQVXOWDQWWRWKH&RPSDQ\WRFRQGXFWOLTXLGDWLRQVDOHV
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     2IILFHUVZLWKSRZHURIGHOHJDWLRQLVKHUHE\DXWKRUL]HGDQGGLUHFWHGWRH[HFXWHDSSURSULDWH
     DJUHHPHQWVSD\DSSURSULDWHIHHVDQGWRFDXVHWREHILOHGDQDSSURSULDWHDSSOLFDWLRQIRU
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     WRREWDLQWKHEHQHILWVIURPWKHXVHRIFDVKFROODWHUDO DVVXFKWHUPLVGHILQHGLQVHFWLRQ
      D RIWKH%DQNUXSWF\&RGH ZKLFKLVVHFXULW\IRUFHUWDLQRIHDFK&RPSDQ\¶VVHFXUHG
     OHQGHUVXQGHU L WKDWFHUWDLQFUHGLWDJUHHPHQWGDWHGDVRI$XJXVW DVDPHQGHG
     UHVWDWHGDPHQGHGDQGUHVWDWHGVXSSOHPHQWHGRURWKHUZLVHPRGLILHGSULRUWRWKH3HWLWLRQ
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     /HQGHUVHDFK&RPSDQ\ WKH³3UHSHWLWLRQ$%/$JHQW´ DQGWKHOHQGHUVSDUW\WKHUHWR WKH
     ³3UHSHWLWLRQ$%//HQGHUV´ DQG LL WKDWFHUWDLQWHUPORDQDQGJXDUDQWHHDJUHHPHQWGDWHG
     DV RI $XJXVW   DV DPHQGHG UHVWDWHG DPHQGHG DQG UHVWDWHG VXSSOHPHQWHG RU
     RWKHUZLVH PRGLILHG SULRU WR WKH 3HWLWLRQ 'DWH WKH ³3UHSHWLWLRQ 7HUP /RDQ &UHGLW
     $JUHHPHQW´ E\DQGDPRQJ:%*±366+2/',1*6//&WKH³%RUURZHUV´SDUW\WKHUHWR
     WKH³6XEVLGLDU\*XDUDQWRUV´IURPWLPHWRWLPHSDUW\WKHUHWR&RUWODQG3URGXFWV&RUSDV
     DGPLQLVWUDWLYHDJHQWDQGFROODWHUDODJHQW WKH³3UHSHWLWLRQ7HUP/RDQ$JHQW´DQGWRJHWKHU
     ZLWKWKH3UHSHWLWLRQ$%/$JHQWWKH³3UHSHWLWLRQ$JHQWV´ DQGWKHOHQGHUVWKHUHWRIURP
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     XVHRIFDVKFROODWHUDOSXUVXDQWWRDFDVKFROODWHUDORUGHULQLQWHULPDQGILQDOIRUP D³&DVK
     &ROODWHUDO2UGHU´ DQGDQ\$XWKRUL]HG2IILFHUEHDQGKHUHE\LVDXWKRUL]HGHPSRZHUHG
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     ZLWKVHFWLRQRIWKH%DQNUXSWF\&RGHDVZHOODVDQ\DGGLWLRQDORUIXUWKHUDJUHHPHQWV
     IRUWKHXVHRIFDVKFROODWHUDOLQFRQQHFWLRQZLWKHDFK&RPSDQ\¶V&KDSWHU&DVHVZKLFK
     DJUHHPHQW V PD\UHTXLUHHDFK&RPSDQ\WRJUDQWDGHTXDWHSURWHFWLRQDQGOLHQVWRHDFK
     &RPSDQ\¶V3UHSHWLWLRQ/HQGHUVDQGHDFKRWKHUDJUHHPHQWLQVWUXPHQWRUGRFXPHQWWREH
     H[HFXWHGDQGGHOLYHUHGLQFRQQHFWLRQWKHUHZLWKE\RURQEHKDOIRIHDFK&RPSDQ\SXUVXDQW
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     DQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIHDFK&RPSDQ\WRH[HFXWHDQGGHOLYHU
     DQ\ DPHQGPHQWV VXSSOHPHQWV PRGLILFDWLRQV UHQHZDOV UHSODFHPHQWV FRQVROLGDWLRQV
     VXEVWLWXWLRQVDQGH[WHQVLRQVRIWKH&DVK&ROODWHUDO2UGHURUWRGRVXFKRWKHUWKLQJVZKLFK
     VKDOOLQKLVKHUMXGJHPHQWEHQHFHVVDU\GHVLUDEOHSURSHURUDGYLVDEOHWRJLYHHIIHFWWR
     WKHIRUHJRLQJUHVROXWLRQVZKLFKGHWHUPLQDWLRQVKDOOEHFRQFOXVLYHO\HYLGHQFHGE\KLVRU
     WKHLUH[HFXWLRQWKHUHRIDQG

             5(62/9(' WKDW HDFK &RPSDQ\ LV KHUHE\ DXWKRUL]HG WR DXWKRUL]H DQG HDFK
     &RPSDQ\ KHUHE\ DXWKRUL]HV DQ\ VXEVLGLDU\ RI VXFK &RUSRUDWLRQ RI ZKLFK VXFK
     &RUSRUDWLRQRU DQ\ VXEVLGLDU\RI VXFK&RUSRUDWLRQ LV WKH VROH PHPEHU JHQHUDO SDUWQHU
     PDQDJLQJ PHPEHU RU HTXLYDOHQW PDQDJHU DV DSSOLFDEOH WR WDNH HDFK RI WKH DFWLRQV
     GHVFULEHGLQWKHVHUHVROXWLRQVRUDQ\RIWKHDFWLRQVDXWKRUL]HGLQWKLVZULWWHQFRQVHQW

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              5(62/9('WKDWLQDGGLWLRQWRWKHVSHFLILFDXWKRUL]DWLRQVKHUHWRIRUHFRQIHUUHG
     XSRQWKH$XWKRUL]HG2IILFHUVHDFKRIWKH$XWKRUL]HG2IILFHUV DQGWKHLUGHVLJQHHVDQG
     GHOHJDWHV EHDQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRI
     HDFK&RPSDQ\WRWDNHRUFDXVHWREHWDNHQDQ\DQGDOOVXFKRWKHUDQGIXUWKHUDFWLRQDQG
     WR H[HFXWH DFNQRZOHGJH GHOLYHU DQG ILOH DQ\ DQG DOO VXFK DJUHHPHQWV FHUWLILFDWHV
     LQVWUXPHQWV DQG RWKHU GRFXPHQWV DQG WR SD\ DOO H[SHQVHV LQFOXGLQJ EXW QRW OLPLWHG WR
     ILOLQJIHHVLQHDFKFDVHDVLQVXFK$XWKRUL]HG2IILFHU¶VRU$XWKRUL]HG2IILFHUV¶MXGJPHQW
     VKDOO EH QHFHVVDU\ DSSURSULDWH RU GHVLUDEOH LQ RUGHU WR IXOO\ FDUU\ RXW WKH LQWHQW DQG
     DFFRPSOLVKWKHSXUSRVHVRIWKHUHVROXWLRQVDGRSWHGKHUHLQ

             5(62/9(' WKDW HDFK *RYHUQLQJ %RG\ KDV UHFHLYHG VXIILFLHQW QRWLFH RI WKH
     DFWLRQVDQGWUDQVDFWLRQVUHODWLQJWRWKHPDWWHUVFRQWHPSODWHGE\WKHIRUHJRLQJUHVROXWLRQV
     DVPD\EHUHTXLUHGE\WKHRUJDQL]DWLRQDOGRFXPHQWVRIHDFK&RPSDQ\RUKHUHE\ZDLYHV
     DQ\ULJKWWRKDYHUHFHLYHGVXFKQRWLFH

              5(62/9(' WKDW DOO DFWV DFWLRQV DQG WUDQVDFWLRQV UHODWLQJ WR WKH PDWWHUV
     FRQWHPSODWHG E\ WKH IRUHJRLQJ UHVROXWLRQV GRQH LQ WKH QDPH RI DQG RQ EHKDOI RI HDFK
     &RPSDQ\ZKLFKDFWVZRXOGKDYHEHHQDSSURYHGE\WKHIRUHJRLQJUHVROXWLRQVH[FHSWWKDW
     VXFKDFWVZHUHWDNHQEHIRUHWKHDGRSWLRQRIWKHVHUHVROXWLRQVDUHKHUHE\LQDOOUHVSHFWV
     DSSURYHGFRQILUPHGDQGUDWLILHGDVWKHWUXHDFWVDQGGHHGVRIHDFK&RPSDQ\ZLWKWKHVDPH
     IRUFH DQG HIIHFW DV LI HDFK VXFK DFW WUDQVDFWLRQ DJUHHPHQW RU FHUWLILFDWH KDG EHHQ
     VSHFLILFDOO\DXWKRUL]HGLQDGYDQFHE\UHVROXWLRQRIHDFK*RYHUQLQJ%RG\DQG

             5(62/9(' WKDW HDFK RI WKH $XWKRUL]HG 2IILFHUV DQG WKHLU GHVLJQHHV DQG
     GHOHJDWHV DQGHDFKRWKHUSDUWQHUPHPEHURUPDQDJLQJPHPEHURIHDFKGLUHFWVXEVLGLDU\


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     RIHDFK&RPSDQ\EHDQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGWRWDNHDOODFWLRQVRUWRQRW
     WDNHDQ\DFWLRQLQWKHQDPHRIDQGRQEHKDOIRIHDFK

              &RPSDQ\ ZLWK UHVSHFW WR WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKHVH UHVROXWLRQV
     KHUHXQGHUDVWKHVROHVKDUHKROGHUSDUWQHUPHPEHURUPDQDJLQJPHPEHURIHDFKGLUHFW
     VXEVLGLDU\ RI HDFK &RPSDQ\ LQ HDFK FDVH DV VXFK $XWKRUL]HG 2IILFHU VKDOO GHHP
     QHFHVVDU\ DSSURSULDWH RU GHVLUDEOH LQ VXFK $XWKRUL]HG 2IILFHU¶V UHDVRQDEOH EXVLQHVV
     MXGJPHQWDVPD\EHQHFHVVDU\DSSURSULDWHRUGHVLUDEOHWRHIIHFWXDWHWKHSXUSRVHVRIWKH
     WUDQVDFWLRQVFRQWHPSODWHGKHUHLQ

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                                        &203$1<                              -85,6',&7,21
    3D\OHVV+ROGLQJV//&                                                     '(/$:$5(
    3D\OHVV,QWHUPHGLDWH+ROGLQJV//&                                         '(/$:$5(
    :%*366+ROGLQJV//&                                                      '(/$:$5(
    3D\OHVV,QF                                                              '(/$:$5(
    3D\OHVV)LQDQFH,QF                                                      1(9$'$
    &ROOHFWLYH%UDQGV6HUYLFHV,QF                                          '(/$:$5(
    366'HODZDUH&RPSDQ\,QF                                              '(/$:$5(
    6KRH6RXUFLQJ,QF                                                        .$16$6
    3D\OHVV6KRH6RXUFH,QF                                                   0,66285,
    (DVWERURXJK,QF                                                           .$16$6
    3D\OHVV3XUFKDVLQJ6HUYLFHV,QF                                          .$16$6
    3D\OHVV6KRH6RXUFH0HUFKDQGLVLQJ,QF                                     .$16$6
    3D\OHVV*ROG9DOXH&2,QF                                               &2/25$'2
    3D\OHVV6KRH6RXUFH'LVWULEXWLRQ,QF                                      .$16$6
    3D\OHVV6KRH6RXUFH:RUOGZLGH,QF                                         .$16$6
    3D\OHVV1<&,QF                                                          .$16$6
    3D\OHVV6KRH6RXUFHRI3XHUWR5LFR,QF                                  38(5725,&2
    3D\OHVV&ROOHFWLYH*3//&                                                '(/$:$5(
    &ROOHFWLYH/LFHQVLQJ/3                                                '(/$:$5(
    &ROOHFWLYH/LFHQVLQJ,QWHUQDWLRQDO//&                                   '(/$:$5(
    &OLQFK//&                                                               '(/$:$5(
    &ROOHFWLYH%UDQGV)UDQFKLVLQJ6HUYLFHV//&                                .$16$6
    3D\OHVV,QWHUQDWLRQDO)UDQFKLVLQJ//&                                     .$16$6
    366&DQDGD,QF                                                           .$16$6
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                                     D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                     %\V+HDWK)UHHPDQ                           
                                     1DPH +HDWK)UHHPDQ
                                     7LWOH     0DQDJHU



                                     %\V0DUWLQ5:DGH                          
                                     1DPH 0DUWLQ5:DGH
                                     7LWOH     0DQDJHU



                                     %\V5-RVHSK)XFKV                          
                                     1DPH 5-RVHSK)XFKV
                                     7LWOH    0DQDJHU



                                     %\V6FRWW9RJHO                              
                                     1DPH 6FRWW9RJHO
                                     7LWOH    0DQDJHU



                                     %\V3DWULFN%DUWHOV                          
                                     1DPH 3DWULFN%DUWHOV
                                     7LWOH    0DQDJHU



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                    >6LJQDWXUH3DJH±2PQLEXV:ULWWHQ&RQVHQW@
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                                     3$</(66,17(50(',$7(+2/',1*6//&
                                     D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                     %\V0DULR$=DUD]XD                             
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    6HQLRU9LFH3UHVLGHQWDQG&KLHI)LQDQFLDO
                                     2IILFHU



                                     :%*366+2/',1*6//&
                                     D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                     %\V1HLO*+DQVHQ                               
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    0DQDJLQJ'LUHFWRU



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                                     D'HODZDUHFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                               
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD                             
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D1HYDGD&RUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                 
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D'HODZDUHFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                 
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD               
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D'HODZDUHFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                 
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD               
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU




                    >6LJQDWXUH3DJH±2PQLEXV:ULWWHQ&RQVHQW@
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                                     D.DQVDVFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                    
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD                  
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



                                     3$</(666+2(6285&(,1&
                                     D0LVVRXULFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                    
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD                  
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



                                     %\V5DPRQD3DOPHU(DVRQ               
                                     1DPH 5DPRQD3DOPHU(DVRQ
                                     7LWOH    'LUHFWRU



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                                     D.DQVDVFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                  
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D.DQVDVFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                  
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D.DQVDVFRUSRUDWLRQ



                                     %\V6WHSKHQ/3DWWRQ               
                                     1DPH 6WHSKHQ/3DWWRQ
                                     7LWOH     'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU




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                                     D&RORUDGRFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                 
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D.DQVDVFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                 
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD               
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D.DQVDVFRUSRUDWLRQ



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                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU




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                                     D.DQVDVFRUSRUDWLRQ



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                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



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                                     ,WV0DQDJLQJ0HPEHU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     D'HODZDUHOLPLWHGOLDELOLW\SDUWQHUVKLS



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                                     ,WV*HQHUDO3DUWQHU



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                                     ,WV/LPLWHG3DUWQHU



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                                     D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\



                                     %\V1HLO*+DQVHQ                           
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



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                                     ,WV 0DQDJLQJ0HPEHU



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                                     1DPH 0DULR$=DUD]XD
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                                     D.DQVDVOLPLWHGOLDELOLW\FRPSDQ\

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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



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                                     3$</(66,17(51$7,21$/)5$1&+,6,1*
                                     //&
                                     D.DQVDVOLPLWHGOLDELOLW\FRPSDQ\



                                     %\V1HLO*+DQVHQ                   
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    0DQDJLQJ'LUHFWRU



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                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    0DQDJLQJ'LUHFWRU



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                                     D.DQVDVFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                   
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD                 
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



                       




                    >6LJQDWXUH3DJH±2PQLEXV:ULWWHQ&RQVHQW@
Case 19-40882   Doc 1   Filed 02/18/19 Entered 02/18/19 21:50:43      Main Document
                                    Pg 38 of 39
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                                     3$</(666+2(6285&(2)38(5725,&2
                                     ,1&
                                     D3XHUWR5LFRFRUSRUDWLRQ



                                     %\V1HLO*+DQVHQ                    
                                     1DPH 1HLO*+DQVHQ
                                     7LWOH    'LUHFWRU



                                     %\V0DULR$=DUD]XD                  
                                     1DPH 0DULR$=DUD]XD
                                     7LWOH    'LUHFWRU



                                     %\V5DPRQD3DOPHU(DVRQ               
                                     1DPH 5DPRQD3DOPHU(DVRQ
                                     7LWOH    'LUHFWRU








                    >6LJQDWXUH3DJH±2PQLEXV:ULWWHQ&RQVHQW@
Case 19-40882              Doc 1        Filed 02/18/19 Entered 02/18/19 21:50:43                                Main Document
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                                    ($67(51',675,&72)0,66285,
                                          ($67(51',9,6,21


,QUH                                                                &DVH 1R BBBBBBBBB
                                                                       &KDSWHU 
3$</(66+2/',1*6//&et al.                                         
                                                                         -RLQW$GPLQLVWUDWLRQ5HTXHVWHG 
                                          
                               'HEWRUV                             
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                                  9(5,),&$7,212)&5(',7250$75,;

       7KH DERYH QDPHG GHEWRU V  KHUHE\ FHUWLILHVFHUWLI\ XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH
DWWDFKHG OLVW FRQWDLQLQJ WKH QDPHV DQG DGGUHVVHV RI P\ FUHGLWRUV 0DWUL[  FRQVLVWLQJ RI 
SDJH V DQGLVWUXHFRUUHFWDQGFRPSOHWH



                                                               V6WHSKHQ0DURWWDBBBBBBBBBBBBBBBBBBBBBBBB
                                                               1DPH6WHSKHQ0DURWWD
                                                               7LWOH&KLHI5HVWUXFWXULQJ2IILFHU
                                                               On behalf of the Debtors and Debtors in Possession

                                                               'DWHG




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  7KH'HEWRUVLQWKHVHFKDSWHUFDVHVDORQJZLWKWKHODVWIRXUGLJLWVRIHDFK'HEWRU¶VIHGHUDOWD[LGHQWLILFDWLRQQXPEHUDUH
3D\OHVV +ROGLQJV //& >@ 3D\OHVV ,QWHUPHGLDWH +ROGLQJV //& >@ :%*366 +ROGLQJV //& >@ 3D\OHVV ,QF
>@ 3D\OHVV )LQDQFH ,QF >@ &ROOHFWLYH %UDQGV 6HUYLFHV ,QF >@ 366 'HODZDUH &RPSDQ\  ,QF >@ 6KRH
6RXUFLQJ ,QF >@ 3D\OHVV 6KRH6RXUFH ,QF >@ (DVWERURXJK ,QF >@ 3D\OHVV 3XUFKDVLQJ 6HUYLFHV ,QF >@
3D\OHVV 6KRH6RXUFH 0HUFKDQGLVLQJ ,QF >@ 3D\OHVV *ROG 9DOXH &2 ,QF >@ 3D\OHVV 6KRH6RXUFH 'LVWULEXWLRQ ,QF
>@3D\OHVV6KRH6RXUFH:RUOGZLGH,QF>@3D\OHVV1<&,QF>@3D\OHVV6KRH6RXUFHRI3XHUWR5LFR,QF>@
3D\OHVV &ROOHFWLYH *3 //& >@ &ROOHFWLYH /LFHQVLQJ /3 >@ &ROOHFWLYH /LFHQVLQJ ,QWHUQDWLRQDO //& >@ &OLQFK
//&>@&ROOHFWLYH%UDQGV)UDQFKLVLQJ6HUYLFHV//&>@3D\OHVV,QWHUQDWLRQDO)UDQFKLVLQJ//&>@366&DQDGD
,QF >@ 3D\OHVV 6KRH6RXUFH &DQDGD ,QF >@ 3D\OHVV 6KRH6RXUFH &DQDGD *3 ,QF >@ DQG 3D\OHVV 6KRH6RXUFH
&DQDGD/3>@:LWKUHVSHFWWRFHUWDLQWD[LQJDXWKRULWLHVWKH'HEWRUV¶DGGUHVVLV%U\DQ6WUHHW6XLWH'DOODV7H[DV
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3D\OHVV6KRH6RXUFH,QF6(WK$YHQXH7RSHND.DQVDV
